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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


MONTGOMERY                                                             CIVIL ACTION


VERSUS                                                                 20-235-SDD-RLB


COMENITY BANK


                                           RULING

        The Court, after carefully considering the Motion,1 the record, the law applicable to

this action, and the Report and Recommendations2 of United States Magistrate Judge

Richard L. Bourgeois, Jr., dated September 28, 2020, to which no objection has been

filed, hereby approves the Report and Recommendations of the Magistrate Judge and

adopts it as the Court’s opinion herein.

        ACCORDINGLY, the Plaintiff’s Motion to Remand3 is hereby DENIED.
                                                  20th
        Signed in Baton Rouge, Louisiana the 19th day of October, 2020.




                                       S
                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA




1
  Rec. Doc. 6.
2
  Rec. Doc. 16.
3
  Rec. Doc. 6.
